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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

GARY SUTTLES,                                 )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )
                                              )       Civil Action No. 4:17-cv-514
NANCY A. BERRYHILL, in her                    )
official capacity as Acting Commissioner      )
of the Social Security Administration,        )
                                              )
               Defendant.                     )
                                              )

       JOINT MOTION TO CONTINUE INITIAL SCHEDULING CONFERENCE

       This Court has scheduled an initial conference for May 18, 2018. ECF No. 21. Under

the terms of its earlier order, ECF No. 11, the parties are required to meet and confer and file the

report required by Federal Rule of Civil Procedure 26(f) no less than ten days before that

conference. The parties previously informed the Court that they had reached an agreement in

principle to settle this case without further judicial intervention. ECF Nos. 12, 14, 16, 19. The

parties have now executed a settlement agreement that calls for the dismissal of this case in the

next several days.

       In the interim, the parties do not believe that the interests of justice or judicial economy

would be well served by holding the initial conference as scheduled or requiring the submission

of the 26(f) report. The parties therefore respectfully request that the scheduled conference be

continued indefinitely.

                                          Respectfully submitted,

                                              CHAD A. READLER
                                              Acting Assistant Attorney General



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Dated: May 8, 2018




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